                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION - DETROIT

  IN RE:
                                                 CHAPTER 13
  Angela Amerson,                                CASE NO. 19-40267-PJS
                                                 JUDGE PHILLIP J. SHEFFERLY
  DEBTOR.
  ______________________________/

            TRUSTEE’S REPORT OF UNDISCLOSED ASSET(S)

      Pursuant to Local Bankruptcy Rule 2015-1, the Trustee hereby states that the

Trustee discovered the following assets after the debtor testified at the First Meeting

of Creditors that the schedules are accurate:

              Televisions sets having an aggregate value of $1,000.00.

      This report is for informational purposes only. No response is permitted.

                                   OFFICE OF DAVID WM. RUSKIN,
                                   STANDING CHAPTER 13 TRUSTEE

Dated: March 11, 2019              By: /s/ Thomas D. DeCarlo
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  19-40267-pjs    Doc 44   Filed 03/11/19   Entered 03/11/19 09:20:21    Page 1 of 1
